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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY
 BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF
 THE NAACP,                                    Civil Action No. 3:22-cv-00178
                                               SDD-SDJ
                          Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana

                          Defendant.



                              PROPOSED ORDER

      The Court, after reviewing the ex parte motion of counsel of record John Adcock

and considering the grounds therefore, does hereby grant permission for attorney

Dayton Campbell-Harris to appear pro hac vice in the above-captioned matter, as

follows: ORDERED AND ADJUDGED that Plaintiff’s pro hac vice motion is

GRANTED.



DONE AND ORDERED in Louisiana this ____ day of ______ 2023.


                                             _________________________
                                             HON. SHELLY D. DICK
                                             United States District Judge
                                             Middle District of Louisiana
